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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

NATIONAL COUNCIL OF
NONPROFITS,
1001 G Street NW, Suite 700 East
Washington, D.C. 20001,

AMERICAN PUBLIC HEALTH
ASSOCIATION,
800 I Street NW
Washington, D.C. 20001,

MAIN STREET ALLIANCE,
909 Rose Avenue
North Bethesda, Md. 20852

and

SAGE,
305 7th Avenue, 15th Floor
New York, N.Y. 10001,

Plaintiffs,

v.                                           Case No. 25-cv-239

OFFICE OF MANAGEMENT AND
BUDGET,
725 17th Street, N.W.
Washington, D.C. 20503,

and

MATTHEW VAETH, in his official
capacity as Acting Director, Office of
Management and Budget
725 17th Street, N.W.
Washington, D.C. 20503,

Defendants.

      PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER
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        Pursuant to Local Civil Rule 65.1(a), Plaintiffs National Council of Nonprofits,

American Public Health Association, Main Street Alliance, and SAGE hereby move for a

temporary restraining order enjoining the Office of Management and Budget and its Acting

Director Matthew Vaethe from implementing or enforcing its January 27, 2025

Memorandum entitled “Temporary Pause of Agency Grant, Loan, and Other Financial

Assistance Programs” until the Court can further consider the merits. Plaintiffs further

request that the Court order Defendants to file a status report within twenty-four hours of

the issuance of any temporary restraining order, and every two weeks thereafter for twelve

weeks, confirming the regular disbursement and obligation of federal financial assistance

funds.. As set forth in more detail in the accompanying brief, OMB’s Memo violates the

Administrative Procedure Act because it is in excess of OMB’s statutory authority, is

arbitrary and capricious, and violates the First Amendment. Plaintiffs will suffer imminent

injury should it be permitted to take effect.

        Pursuant to Local Civil Rule 65.1(a), at 9:53 a.m. on January 28, 2025, counsel

for Plaintiffs emailed the three Assistant Directors for the Federal Programs Branch of

the Department of Justice to provide actual notice that they would file a new complaint

accompanied by a motion for a temporary restraining order with respect to OMB M-25-

13, seeking relief before the memorandum is scheduled to take effect later today.

Immediately prior to making this application to the Court, Counsel for Plaintiffs provided

DOJ attorney Daniel Schwei, who had represented himself as our contact on this matter,

with electronic copies of the complaint, motion for temporary restraining order, and

accompanying brief, declarations, and proposed order via e-mail before completing this

electronic filing.




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Dated: January 28, 2025           Respectfully submitted,

                                  /s/ Jessica Anne Morton
                                  Jessica Anne Morton (DC Bar No. 1032316)
                                  Kevin E. Friedl* (Admitted only in New
                                  York; practice supervised by D.C. Bar
                                  members)
                                  Kaitlyn Golden (DC Bar No. 1034214)
                                  Robin F. Thurston (DC Bar No. 1531399)
                                  Skye L. Perryman* (D.C. Bar No. 984573)
                                  Will Bardwell* (D.C. Bar No. 90006120)
                                  Democracy Forward Foundation
                                  P.O. Box 34553
                                  Washington, D.C. 20043
                                  (202) 448-9090
                                  jmorton@democracyforward.org
                                  kfriedl@democracyforward.org
                                  kgolden@democracyforward.org
                                  rthurston@democracyforward.org
                                  sperryman@democracyforward.org
                                  wbardwell@democracyforward.org.

                                  *motion to appear pro hac vice forthcoming




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